Case 1:15-cr-20545-JAL Document 3 Entered on FLSD Docket 07/16/2015 Page 1 of 20



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLO DA
                                                                                 tn
                                                                                  ,q-tF-d t'
                                                                                           ?
                                                                                           r
                         CaseNo. 181   5 20                            45
                                                                                         -
                                                      -
                                                                                             . /.    t
                                                                                                     .
                                                                                                         .
                                                                                                             .


                                   U.S.C.j1349                                                      DDMAR
                                          18U.S.C.j 1343
                                          18 U.S.C.j1956(h)
                                          18U.S.C.j 1956(a)(1)(B)(i)
                                          18U.S.C.j2
                                          18U.S.C.j981(a)(1)(C)
                                          18U.S.C.j982(a)(1)

    UNITED STATES OF AM ERICA
                                          ,

    VS.

   GUILLERM O A . SANCH EZ-BADIA
   ISABEL C. SANCH EZ,           .
           and
   GUSTAVO J. GIR AL,

                           D efendants.




                                              INDICTM ENT
          TheGrand Jury chargesthat:

                                       G eneralAllezations
          Atalltimesrelevantto thisIndictm ent:

                Factoring was a type of accounts receivable financing in which a merch
                                                                                        ant sold
 the rightto colled on itsaccountsreceivableto a private lender
                                                               ,fora discounted price, in return
 for im m ediate cash. Private lenders who specialized in thi
                                                               s type of financing w ere called
factors. Factoringprovided imm edi
                                   ate money allowing theborrowing busines
                                                                             s to pay bills orto
purchase additionalmerchandise.
Case 1:15-cr-20545-JAL Document 3 Entered on FLSD Docket 07/16/2015 Page 2 of 20



           2.     The Export-lm portBank ofthe United State
                                                               s (dtEx-lm Bank'') an independent
   agency ofthe executive branch ofthe United States
                                                     ,   was located in W ashington, D.C.,and was
   theofficialexportcreditagency oftheUnited States.

                 The m ission of Ex-lm Bank wasto assistin the sale ofUnited States goodsand
   services to com panies overseas. One of the ways Ex-lm Bank fulfilled it
                                                                            s m ission was to
   guarantee loans made by United States banks and fnancing companies
                                                                         , the lslaenders,'' to
   creditworthy foreign companies and individuals for the purpose ofpurchasing United St
                                                                                               ates
   goodsfortbreign export.

          4.     After Ex-lm Bank had guaranteed the loan
                                                               m ade by a Lender, if a borrower
  defaulted,Ex-lm Bank, as the guarantor would pay offthe rem aining loan balance i
                                        ,
                                                                                  ncluding
  interestto the Lender.

                Before guaranteeing a loan, Ex-lm Bank required thata United States
                                                                                   exporter -
  the person orentity shipping the United St
                                            atesgoods on behalfofthe borrower certify to Ex-
                                                                                -


  Im Bank the reeeiptofa down payment and the type,am ount
                                          ,                    , and val
                                                                       ue ofthe United States
  goodsthatwere purchased and shipped.

                                       The D efendants

                G UILLERM O A. SANCHEZ-BADIA
                                             , a Uni
                                                   ted States citizen                   resided in
                                                                                    ,

 M iam i,FL,and owned both ACE Products
                                        lnc.(tiACE'') an exportcompany located in Cutler
                                          ,


 Bay,FL,and TimberDepot(Eç-l-imberDepot''), a lumberexportcom pany located in M ia
                                                                                          m i,FL,
 and D orado,Puerto Rico. G UILLER M O A .
                                              SANCHEZ-BADIA wasthe fatherOfISABEL C
                                                                                                .

 SAN C H EZ .
Case 1:15-cr-20545-JAL Document 3 Entered on FLSD Docket 07/16/2015 Page 3 of 20



                  ISABEL C. SANCHEZ, a United States citizen
                                                                        ,   resided in M iam i, FL,and
   owned Ex-lm ofAmerica, lnc.($
                               1EOA''),anexportcompany located inM iami               ,   FL. EOA wasa
   private company and notrelated in any
                                            way to Ex-lm Bank. ISABEL C.SANCHEZ was
   manied to defendant GUSTAVO J. GIRAL and was the daughter of G UILLERM O
                                                                                                        A.
   SANCHEZ-BADIA .

          8.     GUSTAVO J.GIRAL, a United Statescitizen
                                                                ,   resided in M iam i, FL,and owned
  both GlobalExportM achinery,
                                  lnc.($çGEM ''),an exporteompany located in Miam i,FL,and
  ZaragozaExports(iûzaragoza'')d/b/aLBM ofAm
                                                     erica(t1LBM '')5anexportcompany loeatedin
  M iam i,FL. GUSTAVO J. GIRAL wasm arried to defendantISABEL C
                                                                               .   SANCH EZ.

                                        C o-c onspirators

                FredyM oreno-Beltran (t:M oreno''), a Colom bian nationalcharged separatel
                                                                                               y,
  resided in Colombia, South Am erica and owned Clientric S
                                    ,                       .
                                                              A.('kCSA''),atelephonecallcenter
 businesslocated in Colom bia. M oreno and CSA acted asailbuyer''i
                                                                 n both the factoring fraud
 and theEx-lm Bank fraud,

               Jorge Amad (iéAmad''), a United States citizen charged
                                                                               separately,resided in
 M iami, FL, and was the co-owner of a telecom
                                                     munications softwm'e com pany known as
 ApproachTechnologiesInternational(étATI'')  .




               Ricardo Beato (1iBeato''), a United States citizen charged separ
                                                                                     ately,resided in
 M iami,FL,and wastheco- ownerofATI.




                                                 3
Case 1:15-cr-20545-JAL Document 3 Entered on FLSD Docket 07/16/2015 Page 4 of 20



                                              R elevantEntities

                 Expocredit (:tEC''
                                  ) was a factoring company in Miami                        ,   FL, that purchased
   receivablesfrom GUILLERM O A. SA N CH EZ-BAD IA and ISABE L C
                                                                                        .   SANCHEZ based on
   purported salesgenerated by com paniesthey controlled.

                The Factor Group (:t   TFG'') was a factoring company in Miam i, FL, that
  purchased receivables from GUILLERM O                SANCH
                                                             EZ-BADIA and ISABEL C.
  SANCHEZ based on pup orted sales ge
                                          nerated by companies they controlled. Together TFG
  and EC arereferred toherein asthe 'ûFactors.''

         l4.    Check Cashing Store lwasa check
                                                        cashing store in M iam i, FL,and wasutilized
  by G UILLERM O A. SANCHEZ-BADIA
                                                  ,   ISABEL C. SANCHEZ , and GUSTAVO J
                                                                                                                  .

  GIRAL to cash checksissued by compani
                                       esthey controlled.

         15.    Check Cashing Store 2 was a cheek
                                                            cashing store in Hom estead, FL,and was
  utilized by GUILLERM O A . SANCH EZ-BADIA
                                                        ,   ISABEL C.SANCHEZ, and GUSTAVO
  J.GIRAL to cash checksissued by companiesthey eontrolled
                                                                      .



                National Resources of America ($
                                               tNROA'') was a non-functioning lumbe                              r
 company operated by GUILLERM O A . SANCH EZ-BADIA
                                                                          ,   ISABEL C.SANCH EZ, and
 GUSTAVO J.GIM L thatacted asap
                               urported customerofTim berDepotand EOA .

               Good Furniture (i1GF'') was              non functioning company operated
                                                              -



 GUILLERM O A . SANCHEZ-BADIA ISABEL C.SANCH EZ
                                          ,
                                                                              ,   and G USTAVO J. GIRAL
 thatacted asapum orted custom erofTimberDepotand EOA
                                                                  .



       18.     Total W arehouse and Furnit
                                                ure (itTW F'') was a non-functioning company
allegedly located in Puerto Rico thatw
                                         as operated by GUILLERM O A . SA N C H EZ-BAD IA
                                                                                                             ,




                                                 4
Case 1:15-cr-20545-JAL Document 3 Entered on FLSD Docket 07/16/2015 Page 5 of 20



    ISABEL C.SANCH EZ , and GUSTAVO J. G IR AL and acted as a purported customer of

    TimberDepotand EOA .

                 American Steeland Lumber(tûASL'')wasanon fknctioning com pany allegedly
                                                                      -



   located in M iam i, FL,and San Juan, Puerto Rico,which was operated by G UILLERM O A
                                                                                                             .

   SANCHEZ-BADIA , ISABEL C. SANCH EZ and GUSTAVO J
                                     ,             . GIRAL and acted as a
   purported custom erofTimberDepotand EOA .

          20.    SalamanderTnlcking (1tST'')wasan alleged company located in M iami
                                                                                              ,   FL,that
   was operated by GUILLERM O A . SANCH EZ-BADIA
                                                 , ISABEL C. SANCHEZ
                                                                                                   ,    and
  G USTAVO J.GIRAL and acted asapurported customerofTimberDepotand EOA
                                                                                          .



                Nuevo Estilo ($çNE'')wasan alleged company Iocated in Puerto Rico thatw as
  Operated by GUILLERM O A . SANCH EZ-BADIA ISABEL C.SANCHEZ
                                                     ,
                                                                                   ,   and G USTAVO
  J.GIRA L and acted asapurported customerofTimberDepotand EOA
                                                                            .




                                         C O UN T 1
                              Conspiracy to Com m itW ireFraud
                                       (18U.S.C.j1349)
                Paragraphs lthrough 21 ofthe GeneralAlle
                                                            gationssection ofthis lndictm entare
 realleged and incorporated by reference asifs
                                              etoutin full.
                From in or around February 2007, through in or around Deeem ber 2012
                                                                                                    ,   in
 M iami-Dade County, in the Southern Distrid ofFlorida
                                                         ,   and elsewhere, defendants,
                           G UILLERM O A.SANCHEZ- BA D IA ,
                                 ISABEL C.SANCHEZ,
                                         and
                                   GUSTAVO J.G IRAL.
 did w illfully, thatis,with the intentto further the objed ofthe eon
                                                                     spiracy, and knowingly
 com bine, conspire, confederate and agree amongst them selves
                                                                and with others, kflown and


                                              5
Case 1:15-cr-20545-JAL Document 3 Entered on FLSD Docket 07/16/2015 Page 6 of 20


    unknown to the Grand Jury, to knowingly and with intentto defra
                                                                       ud deviseand intend to devise
    a scheme and artifsce to detkaud, and to obtain m oney and property by m
                                                                             eansofm aterially false
   and fraudulent pretenses, representations, and promises
                                                                  , knowi  ng that the pretenses
                                                                                                   ,
   representationsand prom ises were false and fra
                                                    udulentwhen made, and did transmitand cause
  to be transmitted, by m eans of wire
                                          , radio, and television com munieation i
                                                                                  n interstate and
  foreign comm erce, writings,signs signals,pictures
                                     s                 , and sounds, forthepurpose ofexecuting the
  schem eand artifice, in violation ofTitle 18
                                              , United StatesCode, Section 1343.
                                    Purpose ofthe C onspiracv
                The purpose ofthe conspiracy wasfor G UILLERM O A
                                                                           .   SANCHEZ-BADIA ,
  ISABEL C.SANCHEZ , GUSTAVO J.G IRAL
                                                  ,   and othersto unlawfully enrich them selvesby
 defrauding the Factors. the Lendersand Ex-lm Bank by submitti
                                                             ng falseand fraudulentsalesand
 shipping inform ation to the Factors
                                     , t
                                       he Lenders and Ex-lm Bank, and m isappropriating loan
 proceedsfortheirpersonalbenefitand to furtherthe fraud
                                                            .



                             M anner and M eans oftht C onspi
                                                                  racv

        The manner and means by which th
                                        e defendants and their co- conspirators sought to
 accomplishtheobjectandpurposeoftheconspiracyincluded,am ong otherthings:
        4.     G UILLER M O      A . SANCH EZ-BADIA
                                                         , ISABEL      C. SANCH EZ and
                                                                                        ,
GUSTAVO J.G IRAL caused compa
                                     niesthey owned and controlled to
                                                                      enterinto factoring loan
agreem entswith the Factors, pursuantto which the Factorspurchased purport
                                                                          ed receivablesfrom
companiesowned and controlled by defendants.

               To m ake itappearthatthe compani
                                                  esthey owned and controlled had receivables
to purchase,GUILLERM O A . SANCH EZ-BADIA
                                                    , ISABEL C.SANCH EZ
                                                                             , GUSTAVO J.
G IR AL , and otherscreated and caused to be
                                             created false and fraudulentdocum ents including
                                                                                   ,



                                              6
Case 1:15-cr-20545-JAL Document 3 Entered on FLSD Docket 07/16/2015 Page 7 of 20


   falsepurchase orders, invoicesand shipping docum entspurpo
                                                             rting to show thatmerchandise had
   been purchased by, and shipped to foreign and dom estic purchasers p
                                      ,
                                                                          ossessing satisfactory
   comm ercialcredit,when in factno such purcha
                                                sesorshipmentsoccurred.

                 GUILLERM O A . SANCHEZ-BADIA
                                                          ,   ISABEL C.SANCHEZ, GUSTAVO
  J.GIRAL, and othersprovided tht false and fraudul
                                                  entpurchase orders, invoicesand shipping
  docum ents to the Factors to induce th
                                        e Fadors to purchase purported receivables from
  com paniesthedefendantsowned and controlled.

                GUILLERM O A . SANCH EZ-BADIA
                                                          ,   ISABEL C.SANCH EZ, GUSTAVO
  J.GIRAL,and otherscaused the transf
                                     eroffraud proceeds, via bank wire transfer
                                                                                        ,   to accounts
  in the names of com panies they owned
                                          and controlled, including EOA , N E, ST, A SL
                                                                                               ,   GEM ,
 A TI.Zaragoza, TimberDepot ACE,NROA
                             ,              ,   and GF.

             After fraudulently obtaining money f
                                                 rom the Fadors, G UILLERM O A .
 SAN CH EZ-BA D IA , ISABEL C.SANCHEZ
                                          , GUSTAVO J.GI R AL, and others created and
 caused to be created additionalfalseand fraudulentinvoices
                                                               ,   which purported to show new sales
 and purchases, which never occurred thereby inducing the Factors to pu
                                       ,
                                                                            rchase additional
 receivablesbased on those false and fraudulent invoices
                                                        , and usi
                                                                ng a portion ofthe fraudulent
proceedsto pay offprièrfactored invoicesin aPonzi-likeschem e
                                                                      .



              To continue the conspiracy at a time when the Fadors
                                                                                 refused to extend
additional financing due to payment delinquencies
                                                    ,   GUILLERM O A . SANCH EZ-BADIA
                                                                                                     ,
ISABEL C. SANCH EZ, G USTAVO J.
                                          G IRAL, Fredy M oreno- Beltran, Jerge Am ad
                                                                                  , and
Ricardo Jose Beato obtained a fraudulent Ex-lm Bank guaranteed loan t
                                                                     o further fund the
scheme.
Case 1:15-cr-20545-JAL Document 3 Entered on FLSD Docket 07/16/2015 Page 8 of 20



                  -
                  r0 obtain the loan from the Ex-lm Bank
                                                                             ,   G UILLERM O A . SANCHEZ-
   BADIA,ISABEL C . SANCHEZ G U ST AV O J
                                     ,                .   GIR AL,Fredy M oreno- Beltran,Jorge A m ad
                                                                                                                  ,
   and Ricardo Jose Beato submitted fal
                                       se and fraudulentdocum ents to Ex lm Bank through a   -


   Lender,falsely representing that United
                                             States goods had been purchased by,shipped
                                                                                                          to,and
  received by a buyer in South America when the
                                                              goods had not been purchased, shipped or
  received.

               GUILLERM O A . SANCHEZ, ISABEL C
                                                            . SANCHEZ, GUSTAVO           J.
  G IRAL,and others also submitted false and fraudulentloan application docume
                                                                              nts to Ex-lm
  Bankthrough aLender.

         12.    G UILLERM O A. SANCHEZ-BADIA
                                                                  ,       ISABEL C.SANCH EZ, GUSTAVO
 J.GIRAL,and others, used a portion ofthe Ex-lm Bank guarant
                                                            eed loan proceedsto pay off,
 including via bank wiretransfer, earlierfactored invoices
                                                                      .



               GUILLERM O A . SANCHEZ-BADIA
                                                                  ,   ISABEL C.SANCHEZ , G USTAVO
 J-GIRAL,and otherscaused theFactor
                                         sto incuracombined lossofapproximately $9 551,425.
                                                                                                      ,

               GUILLERM O A.SANCHEZ-BADIA, ISABEL C.SANCHEZ
                                                                                                 ,   GUSTAVO
 J.G IRAL, Fredy M oreno-Beltran, Jorge Amad
                                                ,   and Ricardo Jose Beato caused the Ex lm bank      -


guaranteed loan to default, causing the U nited States t()incurappr
                                                                                 oxim ately a$1,951,643.01 loss
inindemnit#ingaLender.

               G UILLERM O A . SANCHEZ-BADIA
                                                              ,   ISABEL C.SANCH EZ, GUSTAVO
J.G IR AL.Fredy M oreno- Beltran,Jorge Amad
                                                ,   and Ricardo Jose Beato kepta portion of the
fraudulently obtained proceedsforthei
                                    rpersonalbenetlt.

      A llin violation ofTitle 18, United StatesCode
                                                          s   Section 1349.
Case 1:15-cr-20545-JAL Document 3 Entered on FLSD Docket 07/16/2015 Page 9 of 20



                                            COUNTS 2 -8
                                             W ire Fraud
                                           (18U.S.C.j1343)
                Paragraphs 1 through 21 of the GeneralAll
                                                             egations sedion of Count 1 of the
  Indictmentare hereby realleged and incorp
                                           orated by reference asiffully setforth herein .

                 From in or around February 2007 through in or around Decem ber 2012
                                                      ,
                                                                                                  ,   as
  specified in each countbelow , in M iami-Dade County
                                                          ,   in the Southern Distrid ofFlorida and
                                                                                              ,
  elsewhere,thedefendants,

                            G UILLERM O A . SANCHEZ-BADIA
                                    ISABEL C . SANCHEZ,            ,
                                              and
                                     GUSTAVO J.G IRAL ,
 did knowingly and with the intentto defra
                                          ud deviseand intend to devise aschem e and artificeto
 defraud,and to obtain m oney and property by meansot-materially false and fraudule
                                                                                   ntpretenses,
 representations,and prom ises, knowing thatthe pretenses
                                                         ,representations and prom ises were
 false and fraudulentwhen made, and did transm itand causeto be transmitt
                                                                           ed by m eansofwire,
 radio,and television comm unication in int
                                          erstate and foreign com merce, writings,signs signals,
                                                                                       ,
 pictures,and soundsforthepurposeofexecuting theschem eand artifice
                                                                          .


                             PurposeoftheSchem e and Artifice
        3.     The purpose ofthe schem e and artifice w
                                                          as forG UILLERM O A . SANCHEZ-
BADIA, ISABEL C . SANCH EZ G USTAVO J
                                   ,              .   GIRAL,and others to unlawfully enrich
them selves by defrauding the Factors the
                                       ,    Lenders and Ex-lm Bank by submittin
                                                                                g false and
fraudulent sales and shipping inform ation to the Factors
                                                         , the Lenders and Ex-lm Bank, and
m isappropriating loan proceedsforthei
                                     rpersonalbenefitand to furtherthe fraud.




                                              9
Case 1:15-cr-20545-JAL Document 3 Entered on FLSD Docket 07/16/2015 Page 10 of 20



                                          Schem e and A rtifice
                  Paragraphs 3 through 15 ofthe M anner and M eans section
                                                                                         of Count l ofthe
   lndictment are realleged and incop orated by reference
                                                                     as though fully set forth below as a
   descriptionoftheSchem eand Artifice.

                                           Use ofthe W ires

                  On or aboutthe dates setforth below in M iam i-Dade Country
                                                               ,
                                                                                          ,   in the Southern
  DistrictofFlorida, and elsewhere forthe pum ose ofexecuting the above
                                     ,                                            -
                                                                                      described scheme and
  artitlce to defraud and to obtain money and
                                                 property by m eansofm aterially false and fraudulent
  pretenses, representations and promises, knowing that the pretenses
                                                                                  ,   representations, and
  prom iseswere false and fraudulentwhen made
                                                      ,   thedefendantsdid know ingly transmitand cause
  to be transm itted in interstateand foreign
                                                comm erce,by m eansofwire communications certain
                                                                                                    ,
  writings,signs, signals,and sounds, as setforth in each countbelow :

                                 Factorinz Fraud W ire Transfers

   Count          SourceofW ire                  L
                                                     ocation W ire       Approxim ate         Appro
                                                      R                                            xim ate
                                                        eceived          D ate ofW ire         Amo
                                                                                                   untof
                                                                                                 W ire
            ACE'SBank Account,             N E'sB ank A ccount,
            M iam i, FL                    Puerto Rico                   07/23/2010        $300,000
            AccountN o. 6344               AccountNo. 4754
            Lender'sBank Account,         EC'sBank Account,
            Charlotte, N C                M iam i, FL                    11/05/2010        $302,944.82
            A
              ccountNo.4662               AecountNo. 4367
    4      ACE'SBank Aceount,             N E's Bank A ccount,
           M iam i, FL                    Puerto Rico                   11/10/2010        $73,000
           A ccountN o. 6344              A ceountN o. 9203
Case 1:15-cr-20545-JAL Document 3 Entered on FLSD Docket 07/16/2015 Page 11 of 20



                                  Ex-lm Bank Fraud W ireTransfers

      Count           SourceofW ire                L
                                                       ocation W ire      A pproxim ate A pp
                                                        R                                   roxim ate
                                                          eceived         Date ofW ire A m ount
                                                                                                  of
                                                                                            W ire
        5        Lender'sBank Account,       GEM 'SBank Account,
                 Charlotte, N C              M iam i, FL                  11/05/2010       $466,251.76
                 AccountN o.4662             AccountNo. 2125

        6       Lender'sBank Account,       AT1'sBank Account,
                Charlotte, N C              M iam i, FL                   l1/05/2010       $1,076,237.92
                A
                  ccountN o.4662            A ccountN o. 1333

                ATl'sBank Account,          C SA 'S Bank Account,
                M iami, FL                  Bogota, Colombia,            l1/09/2010    $63,000
                A
                  ccountNo.1333             South Am erica
                                            AccountNo. 6445
       8        ATl'sBank Account,          CSA 'SBank Account
                M iam i, FL                 Bogota, Colombia, ,          11/12/2010    $100,000
                A
                  ccountNo.5752             South Am erica
                                            A ccountNo.6445

            ln violation ofTitle l8, United StattsCode Sedions l343 and 2
                                                        ,                    .

                                            COUNT 9
                             Conspiracy to Com m itM oney Laundering
                                          (18.S.C.j1956(h))
                 Paragraphs 1 through 2l ofthe GeneralAll
                                                            egationssection ofthe Indictm entare
  hereby realleged and incom orated by refe
                                           rence asiffully setforth herein.

        2.        From in oraround early 2007 through in oraround December2012
                                               ,
                                                                                       ,   in M iam i-
 Dade County, in the Southern DistrictofFlorida
                                                   ,   and elsewhere, thedefendants,

                              GUILLERM O A . SAN C H EZ-BA D IA
                                   ISA BEL C . SAN C H EZ,      ,
                                            and
                                   G U STA VO J.G IRA L ,
 did willfully, that is,with the intent to further the
                                                            objed ofthe conspiracy,and knowingly
com bine,conspire, and confederate and agree with each oth
                                                          er,and others known and unknown
Case 1:15-cr-20545-JAL Document 3 Entered on FLSD Docket 07/16/2015 Page 12 of 20



    to the Grand Jury, to knowingly conductand attemptto co
                                                           nductfinancialtransactions affecting
   interstate com m erce, which t'inancialtransactions involved th
                                                                   e proeeeds of specified unlawful
   activity, knowing that the property in
                                             volved in the financial transactions rep
                                                                                       resented the
   proceedsofsome form ofunlawfulactivity and knowing thatthe transactionswere d
                                               ,
                                                                                         esigned in
   wholeand in pal4 to concealand disguise th
                                                e nature,location,source, ownership,and controlof
   the proceeds of the specified unlawfuladivity,in violation of Title 18
                                                                              ,   United States Code,
   Section 1956(a)(1)(B)(i)
                          .




          ltisfurtheralleged thatthe specified unlawf
                                                     ulactivity iswire fraud, in violation ofTitle
   l8,United StatesCode, Section 1343.

         A11in violation ofTitle 18, United StatesCode
                                                       ,   Section 1956(h).
                                        C O UN TS 10 -24
                                       M oney Laundering
                                  (18U.S.C.j 1956(a)(1)(B)(i))
                 Paragraphs 1through 21ofthe GeneralAll
                                                            egations section ofthe Indictmentare
  hereby realleged and incorporated by refe
                                           rence asiffully setforth herein.

               On oraboutthedatessetforth below ast
                                                      o each eount,in M iami-DadeCounty, in
 the Southelm DistrictofFlorida, and elsewhere
                                              ,t
                                               hedefendants,

                           GUILLERM O A. SANCHEZ-BADIA
                                  ISABEL C. SANCHEZ,             ,
                                             and
                                  GUSTAVO J.GIR AL,
did knowingly conduct and attem ptto conducta financialtransaction at- fecting interstate and
foreign com merce, which tsnancial transaction involved th
                                                          e proceeds of specified unlawful
activity, knowing that the property invol
                                          ved in the tsnancial transactions rep
                                                                                resented the
proceeds ofsom e form ofunlawfulactivity and knowing thatthe transadions wered
                                         ,
                                                                                  esigned in
Case 1:15-cr-20545-JAL Document 3 Entered on FLSD Docket 07/16/2015 Page 13 of 20



      wholeand in partto concealand disguise th
                                               e nature,loeation,source, ownership,and controlof
     theproceedsofthe specified unlawfulactivity
 '                                                                          ,   asdescribed below :

         è'
          ount              b-èiù danttsf-                          '/ypeoffransacti
                                                                                   on
                                                         ''R-k-/ roximate Approx% ate)
     ( fts Wil-
              j-ikAvo tkù-kAL èasio epositintozaragoza's ' 08/D16at
                         i-                      .
                                                                     e
                                                                   /2010
                                                                            A m ount j
                                                                           $104
                                                                                     '                                                                           -

                              bank a                                             000 $                                                              ,
                                                                        ccount(AccountNo.
          11          GUILLERMO                          6081)inMiami,FL                                                                                             i
                                         A.              Cash paym entto EC for                                   08/17/2010               $134
                     SANCH EZ-BADIA                      facto                                                                                      928
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                     SANCHEZ-BADIA                       atCheckCashing                                                                         ,836 .:
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         16          GUIL BADIA                                                                                                                 1
                         LERM O A.                   Depositofcheck from GEM                                 11/05/2010
                    SANCHEZ-BADIA,                   intoNROA 'Sbank account                                                           $200,000 4
                  ISABEL C.SANCHEZ, (AccountNo.1800)inM iami                                                                                                     j
                          and       FL                     ,                                                                                                     i
                   GUSTAYOJ.Gllu k                                                                                                                               $
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        /            dIJILLERMO A   De-po
                                        -s-itofcheckfrom GEM
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                    SANCHEZ
                             BADIA, intoNROA'Sbankaccount
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                  ISABEL C.SANCHEZ , (AccountN0.4148)inM iami
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                  ISA BEL C .SA N CH EZ ,
                                                     No.4446)inMiami,FL                                 )                                                        1
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Case 1:15-cr-20545-JAL Document 3 Entered on FLSD Docket 07/16/2015 Page 14 of 20




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                  ISABEL C.SANCHEZ,                                                                                              (
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                   GUS TAVO J.GIRAL
                    G UILLERM O A
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                     SANCHEZ-BADIA,                                                                                    000
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                  ISABEL C.SANCHEZ, M iaomi
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                  GUSTAVOJ GIRAL    .          M iami, FL
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  C 21                GUILLERM O A .           W ire transferfrom ACE'Sbank             11/10/2010 i $150,000                    l
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  1                 SANCHEZ-BADIA,                  No.6344)in                                           :
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                 ISABEL C.SANCHEZ, M iam i,FL,to ST'sbank                                                                        t
                         and       aecount(AccountNo 9847)in         .
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                  GUSTAVO J.GIM L M iami, FL                                                                                 (
        22           G UILLERM O A .                                                                                         r
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                   SANCHEZ-BADIA,             Wiretransferfrom ACE'Sbank              11/10/2010 J $160000 1       ,
                                              account(AccountNo.6344)in
                 ISA BEL C .SAN C H EZ , M iami,FL,to GF
                       aRd
                                                                 'sbank
                                              account(AK ountNo 0550)in
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                 GUSTAVO J.GIRAL              M iami, FL
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        23       ISABEL C . SANCH EZ                                                                                         j
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                                              Tim berDepotcheck cashed at           11/15/201
                                      CheckCashingStore2                                             0
                                                                                                  $29,585 t                  '

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             ltisfurtheralleged thatthe specitied unlawfulactivity iswire fraud
                                                                                        ,   in violation ofTitle
 18,United StatesCode, Section 1343.

             In violation ofTitle 18, United StatesCode
                                                         ,   Sections1956(a)(l)(B)(i)and2        .



                                              FORFEITURE
                                            (18U.S.C.jj981,982)
                    The allegations in this Indictment are re-alleged and by this reference fully
 incorporated herein for the purpose of
                                               alleging forfeiture to the United States of Am erica of
Case 1:15-cr-20545-JAL Document 3 Entered on FLSD Docket 07/16/2015 Page 15 of 20



   certain property in which the defendants G UILLERM O A
                                           ,                        .   SANCH EZ-BADIA , ISABEL C.
   SANCHEZ,and GUSTAVO J. GIRAL,have an interest
                                                           .



                 Upon conviction ofany violation ofTitle 18
                                                                   ,    United StatesCode, Section 1343,
   orany conspiracy to com m itsuch violation, as alleged in this lndictm ent
                                                                                   ,    the defendantsshall
   forfeitto the United States any property realorpersonal
                                          ,                ,       which constitutesor is derived from
  proceeds traceable to the comm ission of the offens
                                                     e pursuantto Title l8,United States Code,
  Section981(a)(1)(C).
                Upon conviction ofany violation ofTitle 18 United StatesCode Section
                                                               ,
                                                                                                    ,   1956 or
  1957,asalleged in thislndictment, the defendantsshallforfeitto the United Stat
                                                                                 es,any property,
  realorpersonal, involved in such offense
                                          , orany propel'
                                                        ty traceable to such property         ,   pursuantto
  Title 18,United StatesCode, Section982(a)(1).

                The property subjectto fbrfeiture includes, butis not limited to approximately
  $41,924,418 which representsa sum ofmoney deri
                                                   ved from the comm ission ofthe alleged wire
  fraud and money laundering offenses.

                lfthepropertydescribed aboveasbeingsubjectto forfeiture, asaresultofany act
 oromission ofthe defendants,

        a.     carmotbe located upontheexercise ofduediligenet;

        b.     hasbeen transferred orsold to, ordeposited with
                                                                    ,   athird party;
               hasbeenplaeedbeyondthejurisdictionofthecourt;
        d.     hasbeen substantially dim inished in value;or

               hasbeen com mingled with otherproperty which
                                                                    cannotbe subdivided
               withoutdifficulty;
Case 1:15-cr-20545-JAL Document 3 Entered on FLSD Docket 07/16/2015 Page 16 of 20



   itisthe intentofthe United States,
                                        pursuantto Title 21,United StatesCode, Section 853(p),to
   seek fbrfeiture ofany otherproperty ofthe defendants,up to the value ofthe above forfeit
                                                                                           able
   property,and in addition, to require the defendantsto retulm any such propert
                                                                                     ytothejurisdiction
   ofthecourtforseizure and forfeiture.

         Al1pursuantto Title 18, United States Code
                                                       ,   Section 981(a)(1)(C),asincorporated by
  Title 28,United StatesCode, Section 2461(c),Title 18,United StatesCode
                                                                                 ,   Sections982(a)(1),
  and theproceduressetforth in Title21, United StatesCode
                                                              ,   Section 853.

                                                              A TRUE BlLl


                       A>                                     Fokhphxscty
  W IFRE O A . FERRER
  UN ITED STATES ATTORNEY

  ANDREW W EISSM ANN
  CHIEF,FRAUD SECTION , CRIM INAL DIVISION



  By:
      IL IAM H .B W N E
     R1 L A TTO R EY
    FM UD SECTIO CRIM INAL DIVISION




IO A C .DO LEY
    SEN R LITIGA ON COUNSEL
    FR A D SECTION , CRIM IN AL DIV ISION




                                              16
                                                        UNITED STATESDISTRIG COURT
   Case 1:15-cr-20545-JAL Document
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                                       RN DISTRI  FLSD
                                               W OF     Docket
                                                    FKORI
                                                        DA     07/16/2015 Page 17 of 20

   UNITED STATES OFAM ERICA
                                                             CASE NO.
   VS.

                                                            CERTIFICATE OF TRIAL ATTORNEY'
   GUILLERM O A.SANCHEZ-BADIA, etaI.

                                  Defendants,
                                                  /         SupersedingCase Inform ation:

  CourtDivision:(selectoae)                                 New Defendantts)
                                                            NumberofNew Defendants                          No
      X     M iam i              Key W est                  Totalnum berofcounts
            FTL                  W PB             FTP
           ldoherebycertifythat:
                      1have carefully considered the allegations ofthe i
                      probable witnessesandthelegalcom plexitiesofth ndictment,the numberofdefendants, the num berof
                                                                         e Indictment/lnformation attached hereto.
                      Iam aware thattheinformation supplied on thisstat
                                                                         ementw illbe relied upon by theJudgesofthisCourtin
                      setting theircalendarsand scheduling crim inaltrials
                      U.S.C.Section 3161.                                  underthe m andate ofthe Speedy TriajAct Title 28
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                      21 to 60 days                           X                     M
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                    61daysand over                                                     elony       ''U
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                         scasebeen previouslyfiledinthi
          Ifyes:                                              sDistrictCourt? (YesorNo)             No
          Judge:                                                   c
          (Attachcopyofdispositiveorde                              aseNo.
          H                            r)
            asacomplaintbeenfiled in thi
                                       smatter?                   (YesorNo)            N
          Ifyes:                                                                   -    o
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          M agistrate Case No.
          Related M iscellaneousnum bers:
          Defendantls)infederalcustodyasof
          Defendantts)instatecustody asof
          Rule 20 from the                                 lstrlcto
          Isthisapotentialdeathpenaltycase?(YesorNo) M N
                   Doesthiscase originate from a m atterpending in the Northern Region ofthe U
                   October14, 2003?                 Yes       X      No                        .S.At
                                                                                                   torney'
                                                                                                         sOffice priorto

                   Doesthiscase originate from a m atterpending in th
                   Septem ber1, 2007?               Yes       X      e CentralRegion ofthe U.S.Attorney's Office priorto
                                                                    No



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                                                                    LLI M H.BOW NE
                                                                  DOJ RIALAU ORNEY
                                                                  Court No.A5501472
*penaltySheetts)attached
                                                                                                                 REv4/8/08
Case 1:15-cr-20545-JAL Document 3 Entered on FLSD Docket 07/16/2015 Page 18 of 20



                             UNITED STATES DISTRICT COURT
                             SO UTH ERN DISTRICT O F FLO RIDA


                                        PENALTY SHEET
  Defendant'sNam e:           GUILLERM O A . SANCHEZ-BADIA

  Case No:

  Count#: l

   18 U.S.C.i 1349

  Conspiracy to Com mitW ire Fraud

  *M ax Penaltv:     20 years'im prisonm ent

 Counts#:

  18 U.S.C.j 1343

  W ire Fraud

 WM ax Penaltv: 20years'imprisonmentasto each count

 Count#: 9

   l8 U.S.C.kl956th)
  Conspiraey To CommitM oney Launderin:

 *M ax Penalty:    20 years'Imprisonment

Counts#: 11-22

  18U.S.C.j 1956(a)(1)(B)(i)
  M oney Launderin:

*M ax Penaltv:     20 vears'im prisonm entas t
                                             o each count
*R efersonly to possible term ofincarceration,doesnotinclude possible fines
specialassessm ents, parole term s,or forfeituresthatm ay be applic        ,restitution,
                                                                   able.
Case 1:15-cr-20545-JAL Document 3 Entered on FLSD Docket 07/16/2015 Page 19 of 20



                             UNITED STATES DISTRICT CO URT
                             SO UTHERN DISTRICT O F FLO RIDA


                                        PENA LTY SH EET
  Defendant'sNam e:           ISABEL C. SANCHEZ

  CaseNo:

  Count#:

   18U.S.C.j 1349

   Conspiracy to CommitW ireFraud

  *M ax Penaltx:     20 years'im nrisonm ent

 Counts#:

  18 U.S.C.$ 1343

  W ireFraud

 WM ax Penalty: 20 years'im prisonmenta
                                       s to each count
 Count#: 9

   18U .S.C.$1956(h)

  Conspiracy To Comm itM oney Laundering

 #M ax Penalty:    20 years'Imprisonment

Counts#: 15 -24

  1FU.S.C.ô 1?56(a)(1)(B)(i)
  Laundering ofM onetary lnstrum ents

#M ax Penalty:     20 vears'im prisonm ent
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'kltefers only to possible term ofincarcerati
specialassessm ents.parole term s,or forfeiton, does notinclude possible fines,restitution,
                                             ures that m ay be applicable.
Case 1:15-cr-20545-JAL Document 3 Entered on FLSD Docket 07/16/2015 Page 20 of 20



                             UNITED STATES DISTRICT CO URT
                             SOUTHERN DISTRICT OF FLORIDA


                                          PENALTY SHEET
   Defendant'sNam e:          GU STAVO J.
                                                GIRAL
   C ase No:

   Count#:

    18 U.S.C.k 1349

   Conspiracy to Com m itW ire Fraud

  *M ax Penaltv:      20vears'imprisonm
                                          ent
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   18 U.S.C.i 1343

  W ire Fraud

 *M ax Penalw : 20 vears'imprisonm e
                                    ntasto each count
 Count#: 9

   l8U.S.C.jl956(h)
   ConspiracyToCom mitM oney Laundering

 *M ax Penalty:    20 years'lm pri
                                 sonm ent
Counts#: 10, 16 -22

  18U.S.C.i 1956(a)(1)(B)(i)

  Laundering ofM onetarvlnstruments

*M ax Penalty:    20 years'im priso
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WRefersollly to possibleterm ofinca
                                    rceration,does notinclude possible fin
specialassessm ents,parole term s,or forfeituresthat m ay b               es,restitution,
                                                           e applicable.
